                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                3:18-CR-202-MOC-DSC-1
 UNITED STATES OF AMERICA,                               )
                                                         )
                                                         )
                                                         )
 Vs.                                                     )               ORDER
                                                         )
 TONY BERNARD ALEXANDER,                                 )
                                                         )
                      Defendant.                         )


       THIS MATTER comes before the Court on Defendant’s pro se “Notice of Appeal from

Order of Magistrate Judge.” (Doc. No. 98). The Court will require the Government to file a

response to Defendant’s motion.

                                              ORDER

       The Government shall respond to Defendant’s “Notice of Appeal from Order of Magistrate

Judge” within 10 days.

                                      Signed: March 12, 2021




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